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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 :
 UNITED STATES OF AMERICA                        :
                                                 :    CASE NO.
           v.                                    :
                                                 :    VIOLATIONS:
                                                 :    18 U.S.C. 1752(a)(2)
 GABRIEL BROWN,                                  :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                       Defendant.                :    40 U.S.C. § 5104(e)(2)(F)
                                                      (Act of Physical Violence on U.S. Capitol
                                                      Grounds)

                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, GABRIEL BROWN did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))


                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, GABRIEL BROWN willfully

and knowingly engaged in an act of physical violence in the Capitol Grounds or in any of the
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Capitol Buildings.

       (Act of Physical Violence in the Capitol Grounds, in violation of Title 40, United States
       Code, Section 5104(e)(2)(F))

                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   United States Attorney
                                                   D.C. Bar No. 481052


                                            By:    _______________________
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